        Case:24-12624-KHT Doc#:349 Filed:04/02/25                                           Entered:04/02/25 22:21:05 Page1 of 4
                                                              United States Bankruptcy Court
                                                                   District of Colorado
In re:                                                                                                                 Case No. 24-12624-KHT
DNC and TCPA LIST SANITIZER, LLC                                                                                       Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Mar 31, 2025                                               Form ID: pdf904                                                           Total Noticed: 14
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 02, 2025:
Recip ID                 Recipient Name and Address
intp                   + Cashyew Holding, LLC, 405 Cherry Hills Way, Colorado Springs, CO 80921-2667
intp                   + GLEGAL, LLC, c/o Gary Tucker, 1600 Broadway No. 1660, Denver, CO 80202-4915
cr                     + JPMorgan Chase Bank, N.A., c/o Sherman & Howard L.L.C., Attn: Peter A. Cal, Esq., 675 Fifteenth Street, Suite 2300, Denver, CO
                         80202-4258
19607629               + Allen Vellone Wolf Halfrich & Factor, PC, 1600 Stout Street Stuie 1900, Denver, CO 80202-3160
19607631              #+ American Express, Business Line of Credit PO Box 570622, Atlanta, GA 30357-3110
19607634               + Cohen Trial, LLC, 1600 Broadway Suite 1660, Denver, CO 80202-4915
19607638               + Quandry Peak Research, 205 S Broadway Suite 300, Los Angeles, CA 90012-3607
19607628               + Ringba, LLC, 8 the Green Suite 11558, Dover DE 19901-3618

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
db                        Email/Text: michael@tcpalitigatorlist.com
                                                                                        Mar 31 2025 23:43:00      DNC and TCPA LIST SANITIZER, LLC, 985
                                                                                                                  Pico Point, Colorado Springs, CO 80905
aty                    + Email/Text: la@allen-vellone.com
                                                                                        Mar 31 2025 23:43:00      Allen Vellone Wolf Helfrich & Factor P.C., 1600
                                                                                                                  Stout Street Suite 1900, Denver, CO 80202-3156
19607630               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Mar 31 2025 23:51:36      American Express, PO Box 6031, Carol Stream,
                                                                                                                  IL 60197-6031
19607635               ^ MEBN
                                                                                        Mar 31 2025 23:40:48      CT Corporation System, as representative, Attn:
                                                                                                                  SPRS, 330 N Brand Blvd Ste 700, Glendale, CA
                                                                                                                  91203-2336
19607632                  Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        Mar 31 2025 23:41:01      Chase, PO Box 78039, Phoenix, AZ 85062-8039
19607636                  Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        Mar 31 2025 23:51:18      JP Morgan Chase Bank NA, PO Box 6026
                                                                                                                  IL1-1145, Chicago, IL 60680-6026

TOTAL: 6


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
          Case:24-12624-KHT Doc#:349 Filed:04/02/25                                   Entered:04/02/25 22:21:05 Page2 of 4
District/off: 1082-1                                             User: admin                                                            Page 2 of 3
Date Rcvd: Mar 31, 2025                                          Form ID: pdf904                                                      Total Noticed: 14

belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 02, 2025                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 31, 2025 at the address(es) listed
below:
Name                            Email Address
Aaron A Garber
                                on behalf of Debtor DNC and TCPA LIST SANITIZER LLC agarber@wgwc-law.com,
                                ngarber@wgwc-law.com;8931566420@filings.docketbird.com

Alan K. Motes
                                on behalf of U.S. Trustee US Trustee Alan.Motes@usdoj.gov

Arthur Lindquist-Kleissler
                                on behalf of Interested Party Cashyew Holding LLC Arthuralklaw@gmail.com,
                                seanalklaw@gmail.com;LindquistKleisslerCompanyLLC@jubileebk.net

Chad S. Caby
                                on behalf of Creditor Adam Young Chad.Caby@wbd-us.com chadwick-caby-5693@ecf.pacerpro.com,jeastin@lewisroca.com

Chad S. Caby
                                on behalf of Creditor Ringba LLC Chad.Caby@wbd-us.com, chadwick-caby-5693@ecf.pacerpro.com,jeastin@lewisroca.com

Chad S. Caby
                                on behalf of Creditor Tubmanburg Limited Chad.Caby@wbd-us.com
                                chadwick-caby-5693@ecf.pacerpro.com,jeastin@lewisroca.com

Jason Cooper
                                on behalf of Interested Party GLEGAL LLC jason.cooper@fmglaw.com

Jeffrey Cohen
                                on behalf of Creditor Jeffery Cohen jcohen@cohentrial.com

John Gray
                                on behalf of Creditor JPMorgan Chase Bank N.A. jgray@shermanhoward.com,
                                dfouts@shermanhoward.com;efiling@sah.com;lkostyk@shermanhoward.com;lkostyk@shermanhoward.com

Joli A. Lofstedt
                                joli@jaltrustee.com ecf.alert+Lofstedt@titlexi.com,brenda@jaltrustee.com

Katharine S. Sender
                                on behalf of Attorney Allen Vellone Wolf Helfrich & Factor P.C. ksender@allen-vellone.com
                                la@allen-vellone.com,allen-vellone@myecfx.com

Katharine S. Sender
                                on behalf of Debtor DNC and TCPA LIST SANITIZER LLC ksender@allen-vellone.com,
                                la@allen-vellone.com,allen-vellone@myecfx.com

Peter A. Cal
                                on behalf of Creditor JPMorgan Chase Bank N.A. pcal@sah.com, rneal@shermanhoward.com;efiling@sah.com

Reza Rismani
                                on behalf of Interested Party GLEGAL LLC reza.rismani@fmglaw.com

Robert J. Shilliday, III
                                on behalf of Attorney John Cimino rjs@shillidaylaw.com

US Trustee
                                USTPRegion19.DV.ECF@usdoj.gov

Vandana Koelsch
                                on behalf of Spec. Counsel Allen Vellone Wolf Helfrich & Factor P.C. vkoelsch@allen-vellone.com,
                                la@allen-vellone.com,allen-vellone@myecfx.com

Vandana Koelsch
                                on behalf of Attorney Allen Vellone Wolf Helfrich & Factor P.C. vkoelsch@allen-vellone.com
                                la@allen-vellone.com,allen-vellone@myecfx.com
      Case:24-12624-KHT Doc#:349 Filed:04/02/25                           Entered:04/02/25 22:21:05 Page3 of 4
District/off: 1082-1                                    User: admin                                           Page 3 of 3
Date Rcvd: Mar 31, 2025                                 Form ID: pdf904                                     Total Noticed: 14
Vandana Koelsch
                          on behalf of Debtor DNC and TCPA LIST SANITIZER LLC vkoelsch@allen-vellone.com,
                          la@allen-vellone.com,allen-vellone@myecfx.com


TOTAL: 19
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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

  In re:                            )
                                    )
  DNC AND TCPA LIST SANITIZER, LLC, )                 Case No. 24-12624 KHT
                                    )                 Chapter 11
       Debtor.                      )


        ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION OF TIME TO
         OBJECT TO DEBTOR’S FOURTH AMENDED SUB-CHAPTER V PLAN OF
                  REORGANIZATION DATED FEBRUARY 26, 2025


           THIS MATTER comes before the Court on the Unopposed Motion for Extension of Time

  to Object to Debtor’s Fourth Amended Sub-Chapter V Plan of Reorganization Dated February 26,

  2025 (the “Motion”), filed by Creditors Adam Young, Tubmanburg Limited and Ringba, LLC

  (collectively, “Ringba”). The Court, having reviewed the pleadings and being otherwise fully

  advised on the matter, hereby

           ORDERS that the Motion is GRANTED; It is further

           ORDERED that the Adam Young, Tubmanburg Limited and Ringba, LLC have up to and

  including April 9, 2025 in which to object or otherwise respond to Debtor’s Fourth Amended Sub-

  Chapter Plan of Reorganization Dated February 26, 2025, and enter such further relief as the Court

  deems appropriate.

                                                      BY THE COURT:
   'DWHG0DUFK

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                                                      The
                                                      Th               Kimberely
                                                       he Honorable Kimber         H. Tyson
                                                                              rely H
                                                      United States Bankruptcy Judge




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